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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA




RONALD C. KOLESAR,

            Plaintiff,                   1:19cv0228 Erie
                                         LEAD CASE
                    v.

EVERYTHING KITCHENS LLC,

            Defendant
THOMAS KLAUS and
RONALD KOLESAR,
         Plaintiffs,                     1:19cv229 Erie
                                         CONSOLIDATED CASE
                    v.


COLORFAST INC.,
          Defendant.




THOMAS KLAUS and RONALD C.
KOLESAR,
                                         1:19cv0234 Erie
            Plaintiffs,                  CONSOLIDATED CASE

                    v.

BRITAX CHILD SAFETY, INC.,

            Defendant.
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THOMAS KLAUS and RONALD C.
KOLESAR,
                                         1:19cv0236 Erie
           Plaintiffs,                   CONSOLIDATED CASE

                         v.

DESIGN WITHIN REACH, INC.,

           Defendant.

RONALD C. KOLESAR,

           Plaintiff,                   1:19cv0237 Erie
                                        CONSOLIDATED CASE
                    v.

COLLECTIBLES TODAY NETWORK,
LTD,

           Defendant.

RONALD C. KOLESAR,

           Plaintiff,                    1:19cv0241 Erie
                                         CONSOLIDATED CASE
                   v.

NABFLY, INC.,

           Defendant.


RONALD C. KOLESAR,

           Plaintiff,                    1:19cv0242 Erie
                                         CONSOLIDATED CASE
                   v.

FRAGRANCEX..COM INC.,

           Defendant.
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RONALD C. KOLESAR,

           Plaintiff,                    1:19cv0249 Erie
                                         CONSOLIDATED CASE
                        v.

PLOW & HEARTH, LLC,

           Defendant.

RONALD C. KOLESAR,

           Plaintiff,
                                         1:19cv0251 Erie
                   v.                    CONSOLIDATED CASE

LUXURY BRAND HOLDINGS, INC.,

           Defendant.



RONALD C. KOLESAR,

           Plaintiff,                    1:19cv0254 Erie
                                         CONSOLIDATED CASE
                        v.

THRIFT BOOKSS GLOBAL, LLC.,

           Defendant.

ROBERT JAHODA,

           Plaintiff,                    19cv1014
                                         CONSOLIDATED CASE
                   v.

EVITAMINS, LLC.,

           Defendant.
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ROBERT JAHODA,
                                         19cv1034
           Plaintiff,                    CONSOLIDATED CASE

                   v.

PRETTYLITTLETHING.COM USA, INC.,
PRETTYLITTLETHING.COM LTD,

           Defendants.

ROBERT JAHODA,

           Plaintiff,                    19cv1043
                                         CONSOLIDATED CASE
                   v.

ANGARA, INC.,

           Defendant.




ROBERT JAHODA,
                                         19cv1050
           Plaintiff,                    CONSOLIDATED CASE

                   v.

YVES ROCHER (USA), INC.,

           Defendant.

ROBERT JAHODA,

           Plaintiff,                    19cv1062
                                         CONSOLIDATED CASE
                   v.

BLACK DIAMOND EQUIPMENT, LTD.,

           Defendant.
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THOMAS KLAUS, ROBERT JAHODA,

            Plaintiffs,                    19cv1064
                                           CONSOLIDATED CASE
                    v.

STOKKE, L.L.C.,

             Defendant.
______________________________________________________________________________



ROBERT JAHODA,

            Plaintiff,                     19cv1068
                                           CONSOLIDATED CASE
                    v.

NORMARK CORPORATION doing business
as RAPALA USA,

            Defendant.


ROBERT JAHODA,

            Plaintiff,                     19cv1082
                                           CONSOLIDATED CASE
                    v.

NORDIC WARE, INC.,

            Defendant.

THOMAS KLAUS, ROBERT JAHODA,

            Plaintiff,                     19cv1084
                                           CONSOLIDATED CASE
                    v.

E&E CO., LTD,

            Defendant.
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THOMAS KLAUS, ROBERT JAHODA,

             Plaintiffs,                            19cv1903
                                                    CONSOLIDATED CASE
                            v.

BOP LLC,

             Defendant.

                                   ORDER OF COURT

    IT IS HEREBY ORDERED that the parties shall proceed as follows:

    1.      Civil Action Nos., 19-229 Erie, 19-234 Erie, 19-236 Erie, 19-237 Erie,

            19-241 Erie, 19-242 Erie, 19-249 Erie, 19-251 Erie, 19-254 Erie, 19-1014,

            19-1034, 19-1043, 19-1050, 19-1062, 19-1064, 19-1068, 19-1082, 19-1084, and

            19-1093, are hereby consolidated with Civil Action No. 19-228 Erie, the lead case

            as captioned above.

    2.      All pleading, motions, and other papers hereafter filed shall be filed at Civil

            Action No. 19-228 Erie.

    3.      The Clerk of Court shall close Civil Action Nos., 19-229 Erie, 19-234 Erie,

            19-236 Erie, 19-237 Erie, 19-241 Erie, 19-242 Erie, 19-249 Erie, 19-251 Erie,

            19-254 Erie, 19-1014, 19-1034, 19-1043, 19-1050, 19-1062, 19-1064, 19-1068,

            19-1082, 19-1084, and 19-1093.



                                           SO ORDERED this 4th day of September, 2019.

                                           s/Arthur J. Schwab
                                           Arthur J. Schwab
                                           United States District Judge
